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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
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 CATHERINE L. STEEGE, ESQ.
 MICHAEL A. DOORNWEERD, ESQ.
                                                                Chapter 11
 In Re:                                                         Case No. 20-18488 (MBK)

 CONGOLEUM CORPORATION1,                                        Honorable Michael B. Kaplan

                      Debtor.

 BATH IRON WORKS CORPORATION,
                                                                Adv. Pro. No.: 20-01439 MBK)
                                      Plaintiff,
                                                                Honorable Michael B. Kaplan
 v.
                                                                Hearing Date: March 17, 2021 at 11:00 am
 CONGOLEUM CORPORATION,

                                      Defendant.


                            NOTICE OF MOTION OF
            BATH IRON WORKS CORPORATION FOR SUMMARY JUDGMENT




 1
   The last four digits of the Debtor’s federal tax identification number are 8678. The Debtor’s corporate headquarters
 is located at 3500 Quakerbridge Road, Mercerville, New Jersey 08619.
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        TO:     Jeffrey M. Sponder, Esq.
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        PLEASE TAKE NOTICE that on the 17th day of March, 2021, at 11:00 a.m., or as soon

 thereafter as counsel may be heard, Bath Iron Works Corporation, shall move before the Honorable

 Michael B. Kaplan, USBJ, at the United States Bankruptcy Court, Clarkson S. Fisher US

 Courthouse, 402 East State Street, Courtroom #8, Trenton, New Jersey 08608, for the entry of an

 Order granting summary judgment against Defendant, Congoleum Corporation and other related

 relief (the “Motion”).




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        PLEASE TAKE FURTHER NOTICE that the Debtor will rely upon the supporting

 Declaration of Daniel M. Stolz, the exhibits thereto, The Statement of Uncontested Facts, and the

 Brief in Support of the Motion submitted simultaneously herewith in support of entry of the

 proposed Order.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the scheduling agreement

 reached between the parties, objections to BIW’s Motion shall be filed and served no later than

 March 5, 2021 and replies shall be filed and served no later than March 12, 2021.

        PLEASE TAKE FURTHER NOTICE that pursuant to D.N.J. LBR 9013-1(k), in the

 event the Motion is contested, there is a duty to confer to determine whether a consent order may

 be entered disposing of the Motion or to stipulate to the resolution of as many issues as possible.

        PLEASE TAKE FURTHER NOTICE that in accordance with D.N.J. LBR 9013-1(i),

 unless the Court authorizes otherwise prior to the hearing date hereof, no testimony shall be taken

 at the hearing except by certification or affidavit.



                                                Respectfully submitted,
                                                GENOVA BURNS
                                                Attorneys for Plaintiff


                                                By: /s/ Daniel M. Stolz       .
 Date: January 28, 2021.                           DANIEL M. STOLZ




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